Case 8:09-cr-00185-JSM-TBM Document 100 Filed 01/15/10 Page 1 of 6 PageID 366
Case 8:09-cr-00185-JSM-TBM Document 100 Filed 01/15/10 Page 2 of 6 PageID 367
Case 8:09-cr-00185-JSM-TBM Document 100 Filed 01/15/10 Page 3 of 6 PageID 368
Case 8:09-cr-00185-JSM-TBM Document 100 Filed 01/15/10 Page 4 of 6 PageID 369
Case 8:09-cr-00185-JSM-TBM Document 100 Filed 01/15/10 Page 5 of 6 PageID 370
Case 8:09-cr-00185-JSM-TBM Document 100 Filed 01/15/10 Page 6 of 6 PageID 371
